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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 CIGAR ASSOCIATION OF AMERICA,                    )
 PREMIUM CIGAR ASSOCIATION, and                   )
 CIGAR RIGHTS OF AMERICA,                         )
                                                  )
                                      Plaintiffs, )
                                                  )
                                              v.  )            Civ. No. 1:16-cv-01460-APM
                                                  )
 UNITED STATES FOOD AND DRUG                      )
 ADMINISTRATION,                                  )
 UNITED STATES DEPARTMENT OF                      )
 HEALTH AND HUMAN SERVICES,                       )
 ROBERT F. KENNEDY JR., in his official           )
 capacity as Secretary of Health and Human        )
 Services Office of the Secretary, and            )
 MARTIN A. MAKARY, M.D.,                          )
 in his official capacity                         )
 as Commissioner of Food and Drugs,               )
                                                  )
                                      Defendants. )
 _________________________________________)


                                    JOINT STATUS REPORT

       The parties submit this joint status report in response to the Court’s Minute Order of April

10, 2025, which directed the parties to meet and confer and to propose a schedule for further

proceedings. Pursuant to the Court’s Order, the parties conferred on April 14, 2025 to discuss an

appropriate process for remand in light of the D.C. Circuit’s order. In order to facilitate further

discussions between all parties, and in view of preexisting scheduling conflicts and travel for

Government counsel, the parties respectfully request that the Court enter an order directing the

parties to submit a second joint status report on or before April 29, 2025. In that report, the parties

intend to submit a joint scheduling proposal. To the extent the parties are unable to agree to a joint




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proposal in that submission, the parties will set forth their respective positions regarding the

appropriate process for further proceedings in this Court.



 Dated: April 17, 2025                               Respectfully Submitted

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